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 1
                                                   THE HONORABLE JOHN H. CHUN
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 6
                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7
                                        AT SEATTLE
 8

 9   FEDERAL TRADE COMMISSION, et al.,            CASE NO.: 2:23-cv-01495-JHC
10                   Plaintiffs,                  PLAINTIFFS’ RESPONSE TO
                                                  MOTION OF AMERICAN
11              v.                                BOOKSELLERS ASS’N TO
                                                  INTERVENE
12   AMAZON.COM, INC., a corporation,
                                                  NOTE ON MOTION CALENDAR:
13                   Defendant.                   May 31, 2024
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     PLAINTIFFS’ RESPONSE TO MOTION OF AMERICAN         FEDERAL TRADE COMMISSION
     BOOKSELLERS ASS’N TO INTERVENE                         600 Pennsylvania Avenue, NW
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 1                                           INTRODUCTION

 2          The American Booksellers Association, Inc. (the “ABA”) may well have legitimate

 3 claims against Defendant Amazon.com, Inc. (“Amazon” or “Defendant”). But its claims are

 4 different from those in this case, and the ABA’s Motion to Intervene (Dkt. #205) (the “ABA

 5 Motion”) does not meet the standards of Federal Rule of Civil Procedure 24 (“Rule 24”). This

 6 rule is designed to allow parties with protectable legal interests in a pending litigation to

 7 participate in that case before a court makes decisions that could prejudice those interests. That is

 8 not the situation here. The ABA’s proposed intervention would do no such thing; instead, it

 9 would essentially create a “whole new suit.” Washington Elec. Co-op., Inc. v. Massachusetts

10 Mun. Wholesale Elec. Co., 922 F.2d 92, 97 (2d Cir. 1990). Moreover, interpolating the ABA’s

11 additional issues into this litigation would inject potential delay and frustrate the public interest

12 in the prompt resolution of government antitrust claims.

13          The ABA’s request to intervene does not meet the standards for either intervention as of

14 right or permissive intervention. First, relevant to both types of intervention, the ABA seeks to

15 impermissibly add new and tangential issues. Second, the ABA does not have a protectable

16 interest in this case as required for intervention as of right. Third, the ABA’s request to

17 permissively intervene should be denied because its claims do not raise common questions with

18 those already in this case, and the discretionary factors weigh against permitting intervention,

19 most importantly because intervention would prejudice the existing parties. Plaintiffs do not,

20 however, oppose the ABA’s alternative request to participate as an amicus curiae on particular

21 motions or issues, should that assist the Court.

22                                            BACKGROUND

23          The ABA seeks to intervene based on claims that Amazon “used [its monopsony power]

24 to impose lower but discriminatory wholesale book prices for itself, thereby restraining
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 1 competition by ABA members [i.e., independent booksellers]” in the market for the sale of

 2 books. ABA Motion at 3. The ABA alleges that Amazon’s lower wholesale costs have allowed it

 3 “to sell books to retail customers at prices that ABA members cannot match.” Id. at 2.

 4          Plaintiffs’ claims here are different. Plaintiffs allege that Amazon monopolized two other

 5 markets—the “online superstore market” (where shoppers can satisfy most of their online

 6 shopping needs) and the “market for online marketplace services” (where sellers can reach many

 7 shoppers with their products). Am. Compl. ¶ 119 (Dkt. #170). While books are sold in online

 8 superstores, books only make up a sliver of these markets, which include products ranging from

 9 electronics to clothing and sporting goods. See id. ¶ 126 (“An online superstore offers an

10 extensive breadth and depth of product selection accessible through an online storefront.

11 ‘Breadth’ refers to product offerings across multiple categories, such as sporting goods, kitchen

12 goods, apparel, and consumer electronics.”). Plaintiffs challenge Amazon’s course of conduct

13 that denies other online superstores and marketplace service providers the scale they need to

14 compete effectively, maintaining Amazon’s monopoly power in these markets and harming

15 shoppers and sellers. Unlike the ABA, Plaintiffs’ Amended Complaint does not reference

16 Amazon’s monopsony power in any market.

17                                       LEGAL STANDARD

18          Rule 24 provides for two types of intervention: intervention as of right under Rule 24(a)

19 and permissive intervention under Rule 24(b). For both types of intervention, the proposed

20 intervenor cannot “enlarge th[e] issues” or “compel an alteration of the nature of the

21 proceeding.” Vinson v. Washington Gas Light Co., 321 U.S. 489, 498 (1944); see also Seminole

22 Nation of Oklahoma v. Norton, 206 F.R.D. 1, 7-8 (D.D.C. 2001) (denying motion to intervene

23 under Rule 24(a) and Rule 24(b) for claims that would improperly raise new issues); United

24 States v. Blue Lake Power, 215 F. Supp. 3d 838, 844 (N.D. Cal. 2016) (denying intervention on
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 1 new issues where intervenor’s proposed “claims would require litigation of entirely different and

 2 hitherto untouched facts, questions of law, and remedies . . . .”). Allowing intervention for

 3 tangential matters “would prejudice the other parties by expanding [the] litigation far beyond the

 4 original question presented and caus[e] substantial delay in the resolution of [the] case.” City of

 5 Jersey City v. Consol. Rail Corp., 968 F. Supp. 2d 302, 306 (D.D.C. 2013), aff’d, No. 13-7175,

 6 2014 WL 1378306 (D.C. Cir. Feb. 19, 2014).

 7              To intervene as of right under Rule 24(a)(2), 1 the proposed intervenor must show: (1) that
                                                                   0F




 8 it has an interest in the litigation that is “protectable under some law” and (2) that “there is a

 9 relationship between the legally protected interest and the claims at issue.” Nw. Forest Res.

10 Council v. Glickman, 82 F.3d 825, 837 (9th Cir. 1996) (internal quotation marks omitted). The

11 proposed intervenor must also show that “the disposition of the action may, as a practical matter,

12 impair or impede the applicant’s ability to protect its interest.” Donnelly v. Glickman, 159 F.3d

13 405, 409 (9th Cir. 1998). A proposed intervenor must do more than claim that the “two inquiries

14 are similar.” Greene v. United States, 996 F.2d 973, 976 (9th Cir. 1993). Rather, a ruling in the

15 original case must actually risk prejudice to the proposed intervenor’s rights. See id.

16              For permissive intervention under Rule 24(b)(1)(B), 2 the proposed intervenor must show
                                                                            1F




17 that it “has a claim or defense that shares with the main action a common question of law or

18 fact.” If so, Rule 24(b)(3) requires the Court to consider “whether the intervention will unduly

19 delay or prejudice the adjudication of the original parties’ rights.” See S. Dakota ex rel. Barnett

20 v. U.S. Dep’t of Interior, 317 F.3d 783, 787 (8th Cir. 2003) (“The principal consideration in

21 ruling on a Rule 24(b) motion is whether the proposed intervention would unduly delay or

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23   1
         The ABA does not seek to intervene under Rule 24(a)(1).
     2
         The ABA does not seek to intervene under Rule 24(b)(1)(A) or 24(b)(2).
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 1 prejudice the adjudication of the parties’ rights.”); UMG Recordings, Inc. v. Bertelsmann AG,

 2 222 F.R.D. 408, 415 (N.D. Cal. 2004) (same). The Court may consider additional factors if the

 3 prerequisite common question is found, including whether the proposed intervenor could bring a

 4 separate case. See Spangler v. Pasadena City Bd. of Educ., 552 F.2d 1326, 1329 (9th Cir. 1977)

 5 (listing potentially relevant factors); UMG Recordings, 222 F.R.D. at 415 (denying a motion to

 6 intervene because, in part, the proposed intervenor could still bring its own case).

 7                                             ARGUMENT

 8          The Court should deny the ABA’s request to intervene in this case. First, whether seeking

 9 to intervene as of right or at the Court’s discretion, proposed intervenors can only raise issues

10 that that “ha[ve] been brought before the court by another party,” and the ABA’s claims, which

11 concern different markets and different conduct, go well beyond the issues already raised by

12 Plaintiffs. Seminole Nation, 206 F.R.D. at 7 (quoting Illinois Bell Tel. Co. v. FCC, 911 F.2d 776,

13 786 (D.C. Cir. 1990)). Likewise, the ABA’s attempt to expand the scope of this case fails to meet

14 the specific standards for either mandatory or permissive intervention. The ABA is not entitled to

15 intervention as of right because it does not have a protectable interest in this litigation and, even

16 if it did, it has not shown a “relationship between the legally protected interest and the claims at

17 issue.” Nw. Forest, 82 F.3d at 837. Similarly, permissive intervention is not merited because the

18 ABA’s claims do not share a common question with Plaintiffs’ claims, see Greene, 996 F.2d at

19 978, and because intervention would significantly delay the proceedings, frustrating the

20 significant public interest in the prompt resolution of antitrust suits, see UMG Recordings, 222

21 F.R.D. at 415.

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 1   I.     THE ABA’S PROPOSED INTERVENTION WOULD IMPERMISSIBLY
            EXPAND THE SCOPE OF THIS CASE BY ADDING NEW ISSUES.
 2

 3          The ABA’s claims are, at most, tangential to Plaintiffs’ claims here, involving different

 4 conduct in different markets. The ABA alleges that Amazon possesses monopsony and

 5 monopoly power in a market for books, and that it obtains discriminatory pricing discounts that

 6 are unlawful under the Robinson-Patman Act and therefore also violates the Sherman Act. ABA

 7 Motion at 3-4; see also 15 U.S.C. § 2; 15 U.S.C. § 13. By contrast, Plaintiffs’ claims focus on

 8 Amazon’s monopoly maintenance in the online superstore market and in the online marketplace

 9 services market, as well as its unfair methods of competition. These claims are raised under not

10 only the Sherman Act but also the Federal Trade Commission Act and the laws of twelve

11 Plaintiff States. Plaintiffs do not separately allege any market for books, do not reference

12 booksellers, do not allege that Amazon has monopsony power in any market, and do not advance

13 any claims—even indirectly—grounded in the Robinson-Patman Act. See ABA Files Motion to

14 Intervene in the FTC’s Suit Against Amazon, American Booksellers Ass’n (May 1, 2024),

15 https://www.bookweb.org/news/aba-files-motion-intervene-ftcs-suit-against-amazon-1630556

16 (“Notably missing from [Plaintiffs’] complaint, however, are independent bookstores.”).

17          The factual and legal questions that the Court would need to resolve for Plaintiffs’ claims

18 and the ABA’s claims are different. For example, the ABA characterizes its relevant market for

19 books as a “submarket” of Plaintiffs’ online superstore market. ABA Motion at 3, 5. However, to

20 show that Amazon has monopsony power in a book market, the ABA would likely address who

21 purchases books from publishers at wholesale prices and in what quantities. In contrast, the

22 Complaint alleges that Amazon has monopoly power in the market of online superstores, which

23 “compete to build long-term relationships with consumers across multiple purchases of a variety

24 of items . . . by offering a distinct set of features” that encourage shoppers “to return to those
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 1 online superstores for a broad swath of goods.” Am. Compl. ¶ 124 (emphases added). For these

 2 reasons, “online stores with a more limited selection”—such as booksellers—“are not reasonably

 3 interchangeable with online superstores for the same purposes and are thus properly excluded

 4 from the online superstore market.” Id.; see also id. ¶¶ 126-41 (describing unique attributes of

 5 online superstore market).

 6          Likewise, the ABA characterizes its allegations regarding Amazon’s scheme of obtaining

 7 discriminatory wholesale discounts as “fully consistent with Plaintiffs’ Complaint” and “an

 8 important instance of Amazon’s exclusionary conduct.” ABA Motion at 5. However, to

 9 determine whether Amazon obtains discriminatory prices from book publishers, the ABA would

10 presumably inquire into the pricing offered on various book titles to different purchasers at the

11 same times. To assess the impact of those differential prices on competition in book retailing, the

12 ABA would then likely present evidence on the nature of competition in the retail sale of books.

13 None of that evidence is likely to be relevant to Plaintiffs’ claims that Amazon has monopoly

14 power in the online superstore and online marketplace services markets. See Am. Compl. ¶¶ 126-

15 41, 190-92 (describing unique attributes of the online superstore and online marketplace services

16 markets). Nor would that evidence be relevant to Plaintiffs’ allegations that Amazon’s conduct

17 suppressed competition by depriving rival online superstores and marketplaces of scale, harming

18 shoppers and Amazon sellers. See id. ¶ 7 (“Amazon uses a set of anti-discounting tactics to

19 prevent rivals from growing by offering lower prices, and it uses coercive tactics involving its

20 order fulfillment service to prevent rivals from gaining the scale they need to meaningfully

21 compete.”).

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 1          Allowing the ABA to insert their new issues into this case would “expand[] this litigation

 2 far beyond the original question presented and caus[e] substantial delay in the resolution of this

 3 case.” City of Jersey City, 968 F. Supp. 2d at 302.

 4    II.   THE ABA IS NOT ENTITLED TO INTERVENTION AS OF RIGHT BECAUSE
            IT DOES NOT HAVE AN INTEREST IN THIS CASE THAT COULD BE
 5          PREJUDICED.

 6          The ABA’s claimed interest in this case—stare decisis—does not justify intervention as

 7 of right. ABA Motion at 8. The ABA’s motion does not identify any specific potential findings

 8 in this case that would operate against its claims, which is unsurprising given the significant

 9 differences between Plaintiffs’ and the ABA’s claims. Even if Plaintiffs’ claims had some stare

10 decisis implications for the ABA’s claims—and they do not—these would not be sufficient to

11 constitute a Rule 24(a) interest under applicable precedents, particularly at this stage of the

12 litigation.

13          A.      The ABA Does Not Have a Protectable Interest in this Case.

14          The ABA does not have a protectable interest in this case because its interests are not

15 “relat[ed] . . . to the [P]laintiff[s’] claims.” Donnelly, 159 F.3d at 409. The only real similarities

16 between its claims and Plaintiffs’ are that they involve the same defendant and, in part, the same

17 statute. However, the underlying wrongful conduct is entirely different and was directed at

18 different markets. Donnelly is directly on point, and the ABA’s proposed intervention fails for

19 the same reasons. There, a putative class of female employees brought claims alleging a hostile

20 work environment. Id. at 407-08. A group of four male employees moved to intervene to add

21 their own claims of gender-based discrimination against the same defendants. Id. at 408. The

22 Ninth Circuit held that intervention was properly rejected because “the[] claims of discrimination

23 against male employees are unrelated to plaintiffs’ particular claims of ‘hostile-work-

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 1 environment’ discrimination against female employees. It is not enough that both groups assert

 2 discrimination claims against the same defendants.” Id. at 409. The proposed intervenors’ claims

 3 were not related to the plaintiffs’ claims even though they were against the same defendants,

 4 under the same statutes. The Ninth Circuit also held that “[r]esolution of plaintiffs’ action,

 5 therefore, will not affect the proposed intervenors’ claims.” Id. at 410. And, as in Donnelly,

 6 resolution of Plaintiffs’ claims is unlikely to “affect the proposed intervenor’s claims,” for the

 7 reasons discussed above. Id.; see supra at 5-7.

 8           B.     Any Findings in this Case Would Not Prejudice the ABA.

 9           The ABA’s sole claimed prejudice that may arise from this case is the risk of adverse

10 precedent that may prejudice its future claims. See ABA Motion at 8. However, in Greene, the

11 Ninth Circuit made clear that any “interest in preserving the favorable effects of stare decisis”

12 cannot be “too speculative.” Greene, 996 F.2d at 977. There, the court rejected the claimed

13 precedential concerns where any rulings in the litigation would not directly affect the proposed

14 intervenor’s claims. Id.; see also N. Cal. River Watch v. Fluor Corp., No. 10-cv-05105-MEJ,

15 2014 WL 3385287, at *17 (N.D. Cal. July 9, 2014) (“[The proposed intervenor] seeks to assert

16 seven additional state law claims that [plaintiff] has not asserted. A ruling by this Court would

17 not have a precedential effect on any of these state law issues.”). The same is true here, where

18 the ABA has not identified any specific potential holdings in this case that would prejudice its

19 claims, especially as it seeks to litigate different theories of harm arising in different markets.

20           Furthermore, even if this case may result in precedent that would affect the ABA’s

21 claims, such precedent would not be sufficient to afford the ABA the requisite interest justifying

22 intervention. Even where there is some potential stare decisis implication, courts have not treated

23 this as sufficient by itself for granting intervention as of right. “If stare decisis were the sole

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 1 criteria under Rule 24(a)(2), there would be an intervention free for all. Any person whose

 2 interests might be impaired or impeded by an adverse decision in an unrelated litigation could

 3 intervene as of right.” Sec. Inv. Prot. Corp. v. Bernard L. Madoff Inv. Sec. LLC, 550 B.R. 241,

 4 250 (Bankr. S.D.N.Y. 2016). The ABA identifies no case in which stare decisis concerns,

 5 standing alone, were sufficient to constitute an “interest” warranting intervention. It principally

 6 relies on United States v. Oregon, 839 F.2d 635 (9th Cir. 1988), in which the court referred to

 7 stare decisis as an “important consideration” supporting intervention. But even there, the court

 8 found a “[m]ore important” consideration supporting intervention: the fact that the intervenor

 9 and the original plaintiffs would be in conflict for a common fund. Id. at 638 (“[T]his record

10 shows as a practical matter that this litigation may impair appellants’ ability to obtain effective

11 remedies in later litigation if the trial court is not allowed to consider the appellants’ contentions

12 here.”); see also id. at 637 (“There is also no question that the applicants have an interest relating

13 to the facility which is the subject of the action.”). Unlike the intervenors in Oregon, the ABA

14 makes no showing here that any findings in this case would impair its ability to seek relief.

15              The advisory committee notes illustrate what types of interests are contemplated by Rule

16 24(a). The two forms specifically identified in the advisory committee’s note to the 1966

17 amendment 3 are “where an action is being prosecuted or defended by a trustee, a beneficiary of
                     2F




18 the trust should have a right to intervene” and where “a member of a class should have the right

19 to intervene in a class action.” Fed. R. Civ. P. 24(a)(2) advisory committee’s note to 1966

20 amendment. While these examples are not exhaustive, they do indicate that the rules contemplate

21 an interest far beyond some generalized risk of adverse precedent, and instead require a concrete

22

23
     3
         Rule 24(a) has not been substantively changed since these notes.
24
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                                                                                              (202) 326-2222
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 1 stake in the matter as it stands. The ABA has no such interest, and thus should not be allowed to

 2 intervene under Rule 24(a)(2). 4         3F




 3    III.       PERMISSIVE INTERVENTION IS NOT WARRANTED AS THE ABA’S
                 CLAIMS DO NOT INVOLVE COMMON QUESTIONS, AND INTERVENTION
 4               WOULD PREJUDICE THE PARTIES.

 5               In the alternative, the ABA seeks to intervene under Rule 24(b)(1)(B), which allows

 6 permissive intervention for anyone who “has a claim or defense that shares with the main action

 7 a common question of law or fact.” The ABA has not identified any common questions with

 8 Plaintiffs’ claims. Furthermore, even if a common question were present, the Court should use its

 9 discretion to deny the ABA’s request to intervene because intervention would slow the progress

10 of this case while denying intervention would not limit the ABA’s ability to seek relief on its

11 own.

12               A.       The ABA Does Not Raise Common Questions.

13               As discussed above, the ABA is bringing claims for different conduct in different markets

14 from Plaintiffs. Where the claims in a litigation are substantially unrelated to those the proposed

15 intervenor seeks to add, there is no common question under Rule 24(b). See Marvel Ent. Grp.,

16 Inc. v. Hawaiian Triathlon Corp., 132 F.R.D. 143, 146 (S.D.N.Y. 1990) (“Although it is true that

17 there is some overlap in the legal and factual issues [intervenor] seeks to litigate, [intervenor]

18 also seeks to assert additional unrelated claims . . . which would needlessly expand the scope and

19

20
      4
          Even if there were some factual overlaps between the ABA’s and Plaintiffs’ claims, this does not mean stare
21 decisis concerns would arise. Especially at this stage of the case, there is no risk of any binding precedent that would
      prejudice the ABA. As courts have noted in denying motions for intervention as of right: “A decision of a federal
22 district court judge is not binding precedent in either a different judicial district, the same judicial district, or even
      upon the same judge in a different case.” Doe v. Horne, No. 23-cv-00185-TUC-JGZ, 2023 WL 6979469, at *4 (D.
23    Ariz. Oct. 23, 2023) (internal quotations omitted); Seneca Res. Corp. v. Twp. of Highland, 863 F.3d 245, 257 (3d
      Cir. 2017) (same). In the absence of any risk of binding precedent, there is not sufficient potential prejudice to
      warrant intervention under Rule 24(a).
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 1 costs of this litigation and would thus prejudice the rights of [the current parties] to the

 2 expeditious resolution of this action.”). 5       4F




 3            Courts deny intervention in these circumstances. For example, the Ninth Circuit has held

 4 that, where the proposed intervenor seeks to raise issues “unrelated to the subject matter of the

 5 [underlying] action,” permissive intervention is inappropriate. Mishewal Wappo Tribe of

 6 Alexander Valley v. Salazar, 534 F. App’x 665, 668 (9th Cir. 2013); see also Greene, 996 F.2d at

 7 978; Sch. Dist. of Philadelphia v. Pennsylvania Milk Mktg. Bd., 160 F.R.D. 66, 69 (E.D. Pa.

 8 1995) (denying motion to intervene where existing defendants sought to protect prices paid by

 9 school district to milk dealers while proposed intervenor sought to protect prices paid by dealers

10 to dairy farmers). The same analysis applies here—while the ABA may support Plaintiffs, that is

11 insufficient. The ABA has not shown that its legal theories actually overlap with those of

12 Plaintiffs.

13            B.       The ABA’s Proposed Intervention Will Slow the Progress of this Case,
                       Contrary to the Public Interest in the Speedy Resolution of Government
14                     Enforcement Actions.

15            Finally, even if there were a common question, allowing the ABA to intervene would

16 delay the progress of this case and prejudice the parties. See Fed. R. Civ. P. 24(b)(3) (“In

17 exercising its discretion, the court must consider whether the intervention will unduly delay or

18 prejudice the adjudication of the original parties’ rights.”). This is particularly true here, as courts

19

20   5
       Rule 24(c) requires a proposed intervenor to submit a “pleading that sets out the claim or defense for which
     intervention is sought,” which the ABA did not do. The ABA argues it does not need to provide a pleading under
21   Westchester Fire Ins. Co. v. Mendez, 585 F.3d 1183, 1188 (9th Cir. 2009). ABA Motion at 3 n.4. However,
     Westchester made clear a formal pleading was not needed where the parties were already “apprised of the grounds
22   for the motion.” Westchester, 585 F.3d at 1188 (quoting Beckman Indus., Inc. v. International Ins. Co., 966 F.2d
     470, 474 (9th Cir. 1992)). This is not the case here given the ABA’s claims significantly differ, e.g., they bring suit
23   for different conduct in different markets. See Ironshore Indem. Inc. v. Kay, No. 2:21-cv-01706-JAD, 2022 WL
     293230, at *6 (D. Nev. Feb. 1, 2022) (“[The proposed intervenor’s] failure to file a proposed pleading prevents me
     from determining how those distinct rights and claims relate to the pending action.”).
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 1 have repeatedly emphasized “Congress’s clear intent to prioritize speedy and efficient resolution

 2 of government antitrust suits.” United States v. Google LLC, 661 F. Supp. 3d 480, 493 (E.D. Va.

 3 2023); FTC v. Vyera Pharms., LLC, 20-cv-00706-DLC, 2021 WL 76336, at *1 (S.D.N.Y. Jan. 8,

 4 2021) (same). Allowing the ABA to intervene and potentially delay the case would frustrate this

 5 public interest.

 6          Courts have consistently held that intervention should be denied where it would add

 7 collateral issues that would delay the outcome of the pending matter, including under Rule

 8 24(b)(1)(B). See, e.g., FTC v. First Cap. Consumer Membership Servs., Inc., 206 F.R.D. 358,

 9 366 (W.D.N.Y. 2001) (“[T]he case law is clear that if an intervenor attempts to introduce

10 collateral issues in a proceeding, a court may be justified in denying a motion to intervene based

11 on undue delay or prejudice.”); UMG Recordings, 222 F.R.D. at 415 (denying motion to

12 intervene where proposed intervention “threatens to prejudice plaintiff by forcing it to defend

13 against collateral actions.”); Sellers v. United States, 709 F.2d 1469, 1472 (11th Cir. 1983)

14 (affirming denial of motion to intervene because “[t]he intervention proposed would have

15 expanded this litigation to include [new] disputes.”). Beyond the substantial discovery already

16 underway, the ABA and Amazon would presumably need to seek extensive additional discovery

17 regarding book distribution, likely including discovery from ABA-member booksellers and

18 publishers. Expanding the scope of discovery would potentially result in significant delays to the

19 case schedule.

20          On the other hand, denying the ABA’s request to intervene would still leave the ABA a

21 viable alternative path forward—bringing its own case. See UMG Recordings, 222 F.R.D. at 415

22 (“[Proposed Intervenor’s] ability to pursue its claims through an alternative mechanism without

23 any prejudice to its own rights is significant in the context of a motion to intervene brought by

24
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 1 that party.”). The ABA is free to file its own case against Amazon, as other private plaintiffs

 2 have.

 3                                           CONCLUSION

 4          For the reasons above, Plaintiffs respectfully request that the Court deny the ABA’s

 5 request to intervene in this case. The ABA seeks, in the alternative, to participate as an amicus

 6 curiae. Plaintiffs do not oppose this alternative request.

 7

 8

 9

10 Dated: May 23, 2024                     I certify that this brief contains 3,958 words, in
                                           compliance with LCR 7(e)(4).
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